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                                                                                             FILED
                            UNITED    STATES      DISTRICT       COURT
                            EASTERN    DISTRICT         OF VIRGINIA
                                                                                           MAR 2 4 2014
                                  Newport News Division
                                                                                     CLERK, US DISTRICT COURT
                                                                                           NORFOLK, VA
CHANEL ELEASE FAISON,


                      Petitioner,

        v.                                               CIVIL ACTION NO.            4:13cv93
                                                 [ORIGINAL CRIMINAL NO.              4:12cr4-2]

UNITED STATES OF AMERICA,


                      Respondent.

                                     MEMORANDUM         ORDER


        This matter        comes     before      the court      on    the    Petitioner's pro

se1    Motion      under     28    U.S.C.       § 2255     to    Vacate,       Set     Aside,      or

Correct ("Motion"), filed on June 20, 2013.2

        On   the same day the Petitioner filed the Motion,                             she filed

 a Motion     for    Extension of       Time       to    file   a    Memorandum       in   Support

of     her   Motion    for    Habeas       Corpus,       and    the    court     granted          that

motion on         July 2,    2013.    The       Petitioner      filed       her Memorandum          in

Support      on    August    2,    2013,    and     on    August      12,    2013,     the    court

ordered      the    United    States       to    file    responsive         pleadings        to    the

 Petitioner's       Motion    for     Habeas      Corpus.       On   October     8,    2013,       the


    Because  the  Petitioner  is  proceeding pro                              se,   the court
 liberally construes the pleadings. See Gordon v.                             Leeke, 574 F.2d
 1147, 1151 (4th Cir. 1978).

 2 The court accepts the Motion as effectively filed on the date
 the   Petitioner certifies            she placed it            in   the prison's          internal
 mailing system,       which is June 20, 2013. See Houston v. Lack, 487
 U.S. 266 (1988)       (articulating the "prison mailbox rule").
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United       States          filed     a     Motion       for      Extension          of    Time    to       file   its


Response           to the Motion             for Habeas Corpus,                   and the court granted

that motion on December 12,                         2013.

       On      January           6,        2014,        the       Petitioner          filed     a       Motion      for

Abeyance,               requesting           an         abeyance        "as           necessary          to     allow

petitioner              to     respond        to        the       governments           [sic]       response          to

petitioners              [sic]    §        2255    motion."          Mot.       for    Abeyance          at    1.   The

United States filed its Response under seal on January 13,                                                      2014,

with     a copy           sent    to        the    Petitioner.             On    January        28,      2014,       the

 Petitioner             mailed         a     letter           to     the        court,        making          various

 arguments          in         support        of        her       Motion        for    Habeas         Corpus.         On

 January 31, 2014,                the        court        issued       an        order       construing             that

 letter as a Reply to the United States'                                    Response,           and dismissing

 the Motion for Abeyance as moot.                                 Consequently,            the matter is now

 ripe for review.

                                I. Legal Standard for § 2255 Petitions

         A    prisoner           may       challenge          a    sentence       imposed          by    a    federal

 court       if:    (1)      the sentence violates                    the Constitution or laws of

 the United States;                    (2)    the sentencing court                     lacked jurisdiction

 to   impose        the        sentence;          (3)    the       sentence       exceeds       the       statutory

 maximum;          or    (4)    the sentence "is otherwise subject to collateral

 attack."          28    U.S.C.        §    2255(a).          A    sentence       is       "otherwise         subject

 to collateral attack" if a petitioner shows that the proceedings
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suffered from "'a fundamental defect which inherently results in

a complete miscarriage of justice.'" United States v. Addonizio,

442    U.S.    178,     185     (1979)         (quoting      Hill     v.     United          States,     368

U.S.   424,    428     (1962)).

       The     prisoner        bears       the     burden       of     proving          one     of     those

grounds by a preponderance of the evidence.                                See Miller v.             United

States,       261 F.2d 546,       547       (4th Cir.        1958).     If she satisfies that

burden,        the     court     may        vacate,       set        aside,        or        correct     the

sentence.       28     U.S.C.     § 2255(b).            If    the     motion,           however,        when

viewed against the record,                     shows that the petitioner is entitled

to no relief,          the court may summarily deny the motion.                                 Raines v.

United States,          423 F.2d 526,            529   (4th Cir.       1970).

       In      cases     where        a     petitioner          claims        to        have     received

 ineffective          assistance          of    counsel       as     grounds        for        relief,     a

petitioner must show by a preponderance of the evidence that                                             (1)

the attorney's performance was seriously deficient;                                          and (2)    such

deficient       performance           prejudiced        the     petitioner              by    undermining

 the   reliability of           the       judgment     against        him.    See        Strickland       v.

Washington,          466 U.S.    668,      687    (1984).

       To      show      deficient             performance,           counsel's              actions      or

omissions        must      be     measured             against        what      "an           objectively

 reasonable          attorney     would         have    done       under      the        circumstances

existing at the time of                   the representation."                 Savion v. Murray,
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82     F.3d 593,      599     (4th Cir.      1996);       see also Lawrence v.               Branker,

517     F.3d 700,      708-09       (4th Cir.       2008).         The court must attempt to

"eliminate           the    distorting       effects          of    hindsight,"        and    instead

"must indulge a strong presumption that counsel's                                     conduct    falls

within        the    wide     range    of    reasonable            professional        assistance."

Strickland,          466 U.S.    at 689.

        To     demonstrate           prejudice,          a      petitioner        must       show     "a

 reasonable          probability       that,       but       for    counsel's      unprofessional

errors,       the result of the proceeding would have been different."

 Id.    at    694.    In    doing     so,    he    "must       demonstrate        that    the    error

 worked to his             'actual and substantial disadvantage,'                        not merely

 that the error created a               'possibility of prejudice.'" Satcher v.

 Pruett,       126    F.3d    561,     572     (4th      Cir.      1997)     (quoting    Murray       v.

 Carrier,       477    U.S.    478,    494        (1986)).         Because    a   petitioner        must

 satisfy both parts of the test,                      a failure to carry the burden of

 proof as to one prong precludes relief and relieves the court of

 the duty to consider the other. Strickland,                               466 U.S.    at 700.

                                        II.       Discussion


         In    her    Motion     and    Memorandum            in     Support,     the    Petitioner

 alleges six grounds for relief. Each is considered in turn.
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          A.   Ground One:        Ineffective Assistance of Counsel for


                                        Failure to Appeal

         The   Petitioner        first       argues      that    she    received         ineffective

assistance of counsel because she allegedly asked her attorney,

Tyrone Johnson,            to    file    a   notice of         appeal,       and he      did not   do

so.    Mot.    at    5.   In    its    response,        the United States has               included

an affidavit from Mr.                 Johnson stating that the Petitioner never

asked him to file an appeal in this case.

         The court will not dispose of                     this claim at this juncture.

 "[A]n    attorney        renders       constitutionally              ineffective        assistance

 of    counsel       if    he    fails       to    follow       his    client's          unequivocal

 instruction to           file    a    timely notice           of    appeal    even      though    the

defendant may have waived his                      right    to challenge his              conviction

 and     sentence         in     the      plea      agreement."          United          States     v.

 Poindexter,        492 F.3d 263,            265 (4th Cir.            2007).3 The Petitioner

did    waive        her    appeal       rights      in     Paragraph         Six    of     the    Plea

Agreement filed in open court at the plea colloquy proceeding on

March     19, 2012,        and    verified         by    the    Petitioner         under    oath    at


 3 Other circuits have held that a petitioner cannot successfully
 claim ineffective assistance of counsel for failing to file an
 appeal where, as in this case, the petitioner waived her right
 to appeal in a plea agreement but failed to allege the agreement
 is unenforceable. See, e.g., Nunez v. United States, 546 F.3d
 450, 456 (7th Cir. 2008). The Fourth Circuit, however, maintains
that  even without   attacking the  plea  agreement itself,  a
petitioner can claim that counsel should have filed an appeal,
despite        the        petitioner's            waiver        of     her     appeal        rights.
 Poindexter,        492 F.3d at 265.
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this proceeding.             See ECF No.         30.     It is not clear from her Motion

and    Memorandum          in    Support       that      she     "unequivocally"            instructed

Mr.    Johnson to pursue an appeal.                      Rather,       in her original Motion,

she    asserts        that      "[p]rior         to     sentencing        Petitioner            requested

trial     counsel      to       make    formal        objections        during       the    sentencing

proceeding,          and to file a notice of appeal." Mot.                            at 5.       At that

stage     in    the    proceedings,            there     was     no    judgment,       and      so     there

would have been nothing to appeal.                         See,       e.g.,    Flanagan v. United

States,        465    U.S.       259,      263        (1984)     (citing       Berman        v.      United

 States,       302    U.S.      211,     212      (1937))        ("In    a     criminal         case      the

 [final        judgment]          rule         prohibits             appellate       review            until

 conviction          and     imposition          of     sentence.").           Moreover,          in       her

Memorandum in Support she asserts that "following her sentencing

 hearing,      she     advised         her     [attorney]        to     make    objection            to    the

 presentencing report and to file a notice of appeal if such was

 needed," though she goes on to write that she "moved counsel to

 file a notice of appeal." Mem.                       in Supp. at 5 (emphasis added).

         In    accordance         with       the       duty     to     construe        this       pro       se

 pleading       liberally,4          the     court       will    permit        the    Petitioner            to

 raise    a    factual       issue      with     respect        to    this    claim,       if   she       can;

 the   Petitioner          must    now       unequivocally            state,    under       oath,         that

 she made such a request                   for appeal to Mr.             Johnson,      and describe



 4 See supra note 1
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the facts and circumstances of such request.5 The Petitioner has

thirty (30) days from the entry of this Memorandum Order to make

this     submission.            The court holds                   in    abeyance      a   final     ruling on

the      claim       in     Ground          One,          until        the    Petitioner          submits       an

affidavit           as    directed,             or        until    the       time    granted       to     do    so

expires.

 B.    Ground Two:          Ineffective Assistance of Counsel for Failure to


                                             Review Discovery

         The    Petitioner                next       argues       that       her    counsel       failed       "to

provide        [the       Petitioner]             with      the        discovery      material       in    order

 for     petitioner          to       make        a        'proper       informed         decision'        about

 whether       or    not    to       plea        [sic]      guilty,"         and    that    "[t]here       is     a

 strong possibility that,                        but       for counsel's error(s),                 petitioner

 would not          have pleaded guilty and would have                                insisted on          going

 to    trial."       Mem.       in    Supp.          at    8-9.    Specifically,            the    Petitioner

 argues that had she been able to review the discovery materials,

 she would have been able to disprove statements by an eyewitness

 which     were          used        to     establish             probable          cause    for     her        co-

 defendant's             arrest       warrant,             and     consequently           would     not        have

 pleaded guilty. Id.



 5 The court is well-aware that the Petitioner filed her Motion
 "under penalty of   perjury"  stating that  it  was "true and
 correct."          Mot.        at        12.        However,           as    discussed           above,        her
 statements  in   the  Motion                              were        not    clear,        specific,           and
 unequivocal on this claim.
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        Here,    the     Petitioner       fails       to    show    that     her       counsel's

performance       was     deficient.      Petitioner        argues        that    her    counsel

should have requested a hearing pursuant to Franks v.                                  Delaware,

438   U.S.      154,    157     (1978),       and    that    at    such     a     hearing    the

eyewitness's          testimony    would       have    been       shown    to     be    "plainly

false." Franks,         however,       only requires that "where the defendant

makes    a substantial          preliminary showing that              a    false       statement

knowingly and intentionally,                  or with reckless disregard for the

truth, was included by the affiant in the warrant affidavit,                                 and

if the allegedly false statement is necessary to the finding of

probable cause,         the Fourth Amendment requires that a hearing be

held at the defendant's request." Id. at 155-56.

        In   this      case,    there     was       significant      other        evidence    to

support a finding of probable cause,                       aside from the witness the

Petitioner        seeks    to    discredit.          This    other    evidence          includes


multiple witnesses who came forward after the surveillance video

of the crime was made public,                 and who were willing to testify at

trial that they saw the Petitioner and her co-defendant "earlier

in    the       day    wearing     the        same     clothing       as        that    in   the

 [surveillance]         video    and    are    able    to   positively           identify    [the

 Petitioner and her co-defendant]                    as the suspects committing the

armed robbery in the surveillance video."                          Statement of         Facts at
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2, ECF No. 32.6 Therefore, the allegedly false statement was not

necessary       to    the        finding        of    probable              cause,       and     so        it   was

reasonable       for       Mr.     Johnson           to        decline       to    request            a    Franks

hearing    on    his       client's       behalf.              The    Petitioner           has    failed         to

show    deficient          performance           by           her    counsel,        and    that          failure

precludes relief on this ground. Strickland, 466 U.S. at 700.

        Moreover,          even    if     this        court          were     to     assume           that      Mr.

Johnson      did      not        review         the           discovery       materials               with      the

Petitioner,          her     claim       fails        under          the     second        prong          of    the

Strickland test as well.                  The Petitioner argues that had she been

allowed a chance to discredit a particular eyewitness,                                                she would

not    have pleaded guilty.                As    noted above,                however,          there was         an

overwhelming          amount        of        other           evidence        arrayed          against          the

 Petitioner,         including           the         Petitioner's             own        confession             and

multiple witnesses willing to identify the                                     Petitioner at trial.

Consequently,          the        Petitioner              has        not     shown         that        she      was

 prejudiced,         and    so    her    claim        fails          under     the    second          prong       of

 Strickland as         well.      466 U.S.           at       693    ("It    is    not     enough for the

 defendant      to   show that          the    errors          had    some    conceivable             effect      on


 the   outcome of          the    proceeding.             Virtually every act                    or       omission

 of    counsel       would       meet    that         test,          and     not     every       error          that

 conceivably         could       have    influenced                 the     outcome        undermines            the


 6 The Statement of Facts was filed at the plea colloquy hearing
 and agreed to by the Petitioner under oath. See ECF No. 30.

                                                          9
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 reliability           of        the     result           of     the        proceeding."            (citations

 omitted)).

   C.    Ground Three:            Ineffective Assistance of Counsel                           for Failure


                                  to Move to Suppress Evidence

         The    Petitioner              next    argues          that       she   received       ineffective

 assistance of counsel because her attorney did not file a motion

 to     suppress      her        confession.         Mot.       at     8;   Mem.      in    Supp.    at    9-12.

 The     Petitioner          alleges          that    she       was     "forced        and    coerced          into

 making a           false    confession             and    then      forced      to    sign    the    Miranda

 waiver."       Mem.        in    Supp.        at    11.       The   Petitioner            argues    that      her

 attorney should have recognized that "the facts support a motion

 to suppress," and that failure to file such a motion constituted

 ineffective assistance of counsel.                              Id.


         There is nothing in the record to support the                                         Petitioner's

 claim.        In    fact,        the    Petitioner             signed       and      stipulated          to    the

 Statement of Facts                filed in open court on March 19, 2012,                                  which

 states that she agreed to speak with the detectives and makes no

 mention       of     any    facts       that       would       suggest      coercion.        Statement          of

 Facts at 4, ECF No. 32.7 With no facts in the record to support a

 motion to suppress,                   it was not unreasonable for the Petitioner's

 counsel        to     decline           to     file        such       a     motion.         Moreover,          the

 Petitioner does not even allege that she told her attorney about



 7 See supra note 6.
                                                           10
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 this    alleged      coercion.           Simply       put,        counsel         for    the       Petitioner

 could not       have      made     a    motion      to      suppress         with       no    knowledge          of

 any    facts    that       could       support      such     a     motion.         Therefore,             it   was

 reasonable          for     Mr.        Johnson        not        to     move       to        suppress           the

 Petitioner's             confession,          and      the        Petitioner            has        failed        to

 demonstrate         that     his       performance           was       deficient.            This       failure

 precludes relief on this ground. Strickland, 466 U.S. at 700.

                     D.    Ground Four:         Prosecutorial Misconduct


        The     Petitioner         next       argues        that       the   United States               engaged

 in    "prosecutorial             misconduct"          because         it    allegedly          used       "false

 and    misleading           statements           on        the     affidavit            for        an     arrest

 warrant" and that consequently she was denied due process.                                                     Mot.

 in    Supp.    at    12.    Specifically,              she       alleges       that      the       government

 used    false       testimony          from    an      eyewitness             as    a    basis          for     the

 arrest warrant.            Id.


        The Petitioner's allegation is the same as discussed supra,

 Part II.B.,         and as discussed therein,                         significant other evidence

 provided independent support for the issue and execution of the

 arrest warrant in question. Consequently,                                   her claim has no basis

 in the facts of the               record.


        The     Petitioner          also      asserts         that       she       was    never          formally

 indicted       by   the     Commonwealth            of     Virginia,          and       that       "the    state

 courts    nolle      prossed           the   state       charges"           for    lack       of    evidence.



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 Mot.     in   Supp.        at    13.        It    is     not      clear        what     the    Petitioner         is

 claiming        in    this      regard,          but     the court             notes    that     the      outcomes

 of   state court proceedings have no bearing on                                         the prosecutorial

 decisions of the attorneys for the United States.8

         The Petitioner also argues that the United States could not

 have      used         her       confession                  against            her     because           it     was

 uncorroborated.              Mot.      in        Supp.       at   13.         Once    again,    as     discussed

 supra     Part        II.B.,         there       was        significant          corroboration            for    her

 confession,           including witnesses who were willing to identify her

 at     trial.        Statement         of    Facts           at   2,     ECF     No.    32.     Consequently,

 this claim is belied by the record and is without merit.

 E.     Ground Five:          Ineffective Assistance of Counsel for failure to


                            Seek Dismissal of Conspiracy Charge

         Next,        the   Petitioner              alleges          in    her    Memorandum          in    Support

 that    she     received         ineffective                assistance          of    counsel        because     her


 attorney        failed          to    "file        a        motion       to     dismiss        the    Hobbs      Act

 Conspiracy" charge. Mem.                     Supp.          13.

         Counts         One,      Two,            and        Three        of     the     Indictment,            filed

 January 10, 2012,               allege actions by the                           Petitioner in violation

 of     The    Hobbs        Act,        which           is     codified          at     18     U.S.C.       § 1951.

 Indictment at 1-4, ECF No. 1. At the sentencing on July 3,                                                     2012,


 8 Even if the               Petitioner had been brought                                to trial           in state
 court,   there would be no double jeopardy problem.   Heath v.
 Alabama,    474 U.S.   82, 92  (1985)  (discussing  the   "dual
 sovereignty" doctrine).

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 Counts       One    and    Two   of     the   Indictment             were   dismissed       on    a    motion


 by the United States.                 Judgment at 1              (July 5, 2012),            ECF No.          67.

 The Petitioner pled guilty to Count Three and stipulated to the

 supporting statement of facts.

        The         Petitioner's          counsel             chose     not     to     move        for        the


 dismissal          of    charges      that     were         already set       to     be    dismissed by

 the    court       at     sentencing,         and       a    charge    to    which    the        Petitioner

 had already agreed to plead guilty.                              Counsel is not required to

 advance        frivolous           or       irrelevant           arguments,           and        is     given

 significant discretion when deciding on proper defense strategy.

 See    Strickland,          466    U.S.       at    688-89.          Accordingly,         this    decision

 by the Petitioner's counsel was certainly "within the wide range

 of reasonable professional assistance," so the Petitioner is not

 entitled to relief on this ground.                              Strickland,         466 U.S.          at 689.

 Moreover,          although the          court does            not     need to      consider whether

 the    Petitioner has             suffered prejudice,                  Strickland,          466       U.S.    at

 700,    such frivolous arguments could not have changed the outcome

 of     the     proceeding,            and     so        the     Petitioner          has     suffered          no

 prejudice.         See id.

                         F. Ground Six: Alleyene v. United States

         Finally,          the    Petitioner             argues       that    the     Supreme          Court's

 recent       opinion        in    Alleyne          v.       United    States,       133     S.    Ct.    2151

 (2013),       offers grounds             for relief.            Specifically,             the    Petitioner



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 alleges that the court improperly applied 18 U.S.C.                                § 924(c)       in

 light     of    Alleyne.        In    Alleyne,        the    Court       held    that     when     a

 defendant       is    convicted       at   trial,     "any        fact   that    increases       the

 mandatory minimum [sentence for a crime]                          is an    'element'      [of the

 crime,    not    a sentencing factor, ] that must be                       submitted to the

 jury."     Alleyne,       133 S. Ct. at 2155.

         In this case,         the Petitioner pled guilty to the elements of

 the 18 U.S.C.         § 924(c)       charge,    and so no determination of any of

 the    elements of        the     crime by      a jury was          necessary;      Alleyne       is

 inapplicable         on   its    face.     Moreover,        even     if the      facts    of    this

 case    matched       those     of   Alleyne,     the       Supreme      Court    has    not    made

 Alleyne retroactively applicable to cases                            on collateral        review,

 and courts that have been presented with the question of whether

 Alleyne applies retroactively have found that it does not. See,

 e.g.,    Willouqhby v.          United States,         3:99-cr-493,         2013 WL 5220774,

 at 2*     (W.D.N.C.       Sept.      17,   2013); United States v. Condra,                     1:05-

 cr-50,    2013 WL 4678165 at *2 (W.D.Va. Aug.                       30, 2013); Muhammad v.

 Purdue,    5:12-cr-129,           2013     WL   4508870      at    *4    (N.D.W.Va.      Aug.    23,

 2013).9 Consequently,                Alleyne offers the Petitioner no grounds

 for relief.10



 9 Moreover,          Alleyne is an extension of Apprendi v.                        New Jersey,
 530 U.S.   466 (2000), and the Supreme Court has decided that
 other Apprendi rules do not apply retroactively, implying that
 the  Court   would  hold that Alleyne  should  not be  applied
 retroactively either. Simpson v. United States, 721 F.3d 875,

                                                  14
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                                       Ill.   Conclusion


         For the aforementioned reasons,                   the    Petitioner's Motion                 is

 DENIED as to all claims except Ground One.                            Petitioner is ADVISED

 that    she may        not   appeal    from    this     Memorandum Order,               until       the

 court    has     resolved      Ground       One.    Further,         the       court   ORDERS       the

 Petitioner to SHOW CAUSE,               within thirty (30) days of the date of

 this    Order,     why       Ground   One     should      not        be    dismissed.      If       the

 Petitioner wishes            to maintain      this      claim,       she must      file    a    sworn

 statement,       under penalty         of    perjury,         that    she      specifically and

 unequivocally asked Mr. Johnson to file a notice of appeal,                                         and

 describe the facts and circumstances of such request.                                  If no such

 document is filed within thirty days                      (30) from the date of entry

 of    this     Memorandum Order,        the    Motion         shall       be   dismissed       in   its

 entirety.



 876     (7th    Cir.    2013);    see    also      In    re    Payne,          13-5103,    2013      WL
 5200425 at *l-2 (10th Cir. Sept. 17, 2013)     (agreeing with the
 court in Simpson that Alleyne does not apply retroactively and
 that the Supreme Court would not hold that it does).

 10 In the Petitioner's Motion requesting an extension of time to
 file her memorandum in support, she characterizes this claim as
 "[w]hether counsel's failure to argue governments enhancement at
 sentencing constitute ineffective assistance of counsel [sic]."
 Mot. at 1, June 27, 2013, ECF No. 98. For the aforementioned
 reasons, it would have been frivolous for her counsel to argue
 this point,   so her attorney's actions in this regard were
 reasonable. Consequently,   Strickland offers the Petitioner no
 relief. Strickland, 466 U.S. at 689, 694. To the extent that
 sentence should be construed as a separate ground for relief,
 the Petitioner has offered no explanation as to what facts or
 law give rise to that ground.

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         The Clerk is DIRECTED to       forward a copy of this Memorandum

 Order    to   the    Petitioner,   to Mr.    Johnson,    and   to    the Assistant

 United States Attorney.

         IT   IS   SO ORDERED.

                                                         ML
                                             Rebecca Beach Smith
                                             United States District Judge-^®-
                                       REBECCA BEACH      SMITH
                                       CHIEF UNITED STATES           DISTRICT   JUDGE
 March5^| , 2014




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